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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


JAMES HAYDEN,                           CASE NO. 1:17-cv-02635-CAB

            Plaintiff,

v.

2K GAMES, INC. and TAKE-TWO
INTERACTIVE SOFTWARE, INC. ,

            Defendants.



          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS
     2K GAMES, INC. AND TAKE-TWO INTERACTIVE SOFTWARE, INC.’S
                  MOTION FOR SUMMARY JUDGMENT
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                                      SUMMARY OF ARGUMENT

        Tattoos are forms of self-expression as they are permanent parts of one’s likeness, like

scars and freckles. As they are part of the body, any realistic depiction of a tattooed person,

whatever the visual medium, will necessarily show their tattoos. What to get tattooed is up to the

inked person, and meaningful to them. For LeBron James, Tristan Thompson, and Danny Green

(the “NBA Players”), three professional NBA basketball players, their tattoos are personal and

permanent parts of their appearance. As Mr. James explained, “my tattoos are part of my body

and my likeness, and I have the right to have my tattoos visible when people or companies depict

what I look like.” Decl. of LeBron James (“James Decl.”) ¶ 10.

        Solid Oak Sketches, LLC v. 2K Games, Inc. is directly on point. 449 F. Supp. 3d 333,

343–45 (S.D.N.Y. 2020). There, Solid Oak asserted that it was copyright infringement to depict

NBA players with their tattoos in the same NBA 2K video games at issue here. Solid Oak sought

to upend the expectations of tattooed players depicted in NBA 2K, who understood that they

would be permitted to display their tattoos as part of their likenesses. The Solid Oak court

granted summary judgment for Take-Two on multiple independent grounds, holding that NBA

players, including Mr. James, may be accurately depicted with their tattoos in NBA 2K.

Specifically, it found that such use was (a) fair, (b) authorized, and (c) de minimis.1

        Like Solid Oak, based on the undisputed facts in this record, Plaintiff’s claim fails as a

matter of law for four independent reasons.2 First, Take-Two’s depiction of the Tattoos is fair



1
    The only other case involving the accurate depiction of people with tattoos is Alexander v. Take-Two Interactive
    Software, Inc., where the Court denied summary judgment. 489 F. Supp. 3d 812 (S.D. Ill. 2020). Alexander,
    however, did not even address Solid Oak, and involved a WWE wrestling game implicating distinct factual and
    legal issues that are not at issue here, including what the court viewed as a factual dispute surrounding the
    creation of those tattoos and uncertainty of the existence of the de minimis use defense in the Seventh Circuit.
2
    As Plaintiff’s direct infringement (Count I) claim fails, its indirect infringement (Count II) claim necessarily
    fails too. Matthew Bender & Co., Inc. v. West Publ’g Co., 158 F.3d 693, 706 (2d Cir. 1998); Subafilms, Ltd. v.
    MGM–Pathe Commc’ns Co., 24 F.3d 1088, 1092 (9th Cir. 1994).


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use, as each of the four fair use factors favors Take-Two:

•   As to the first factor (the “purpose and character of the use”), Take-Two uses the six tattoos

    at issue (the “Tattoos”) for a different, transformative purpose. Whereas Plaintiff’s purpose

    was to adorn the NBA Players’ bodies with their self-expression, Take-Two’s purpose was to

    accurately portray the players. Moreover, two of the Tattoos are covered by the players’

    jerseys, and all of the Tattoos appear smaller than they do in real life, appear only fleetingly,

    among innumerable other elements, and always on the bodies of the NBA Players.

•   As to the second factor (the “nature of the work”), the Tattoos are, at best, entitled to thin

    copyright protection as they were created at the direction and approval of the players,

    comprise common tropes, and were copied from pre-existing works.

•   As to the third factor (the “amount and substantiality of the portion used”), depicting the

    Tattoos was necessary to achieve Take-Two’s purpose of creating a realistic game. Even so,

    as noted above, the Tattoos appear smaller than they appear in real life, are hard to make out,

    and the two largest are covered up by the players’ jerseys such that they are unidentifiable.

•   As to the fourth factor (the “effect of the use on the potential market”), there is no market for

    accurately depicting tattoos in a video game—no witness in this case has ever heard of a

    tattoo licensed for such use—so their inclusion in NBA 2K does not harm a cognizable

    market. Nor is there a potential market as NBA players have appeared in NBA 2K with their

    tattoos since at least 2001, without payment to or objection from tattooists. Further, as the

    Supreme Court recently confirmed in Google LLC v. Oracle America, Inc., this factor must

    “take into account the public benefits the copying will likely produce.” 141 S. Ct. 1183,

    1206 (2021). Here, Plaintiff admits that he has not lost any sales, whereas Take-Two’s use

    of the Tattoos has created an important new creative product that would not exist otherwise.



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    Plaintiff is attempting to chill tattooed people’s ability to depict themselves as they wish in

    media.

        Second, Take-Two’s use was authorized. The NBA Players licensed their likenesses to

the National Basketball Association (“NBA”) and NBA Players Association (“NBAPA”). The

NBA and NBAPA in turn licensed the likenesses to Take-Two. The NBA Players had the right

to grant such permission based on an implied license provided when Plaintiff inked them. As

each player explains, and as is confirmed by tattoo expert Dr. Nina Jablonski, when a client is

inked, both client and tattooist reasonably expect that the tattoo becomes part of the client’s

likeness, and the client is then free to disseminate his likeness without returning to the tattooist

for permission. Strikingly, at Plaintiff’s deposition, he testified that when his clients leave his

tattoo parlor, they “can go about their life as they wish without needing to run back to the

tattooist for permission.” Decl. of Miranda Means (“Means Decl.”) Ex. 11 (Pl.’s Tr.) 156:8–

13. Plaintiff never told the NBA Players that they would need his permission to show their

tattoos, and they in fact did display their tattoos in numerous media outlets, including video

games, without any objection from Plaintiff.

        Third, the Tattoos are a de minimis part of NBA 2K as they are hard to observe. When

users play, they choose from hundreds of players, such that Messrs. Green, James, and

Thompson often will not appear. Even when Messrs. James and Thompson are selected, their

chest tattoos are covered by their jerseys. And the remaining tattoos are smaller than in real life

because of the TV size on which NBA 2K typically is played. They also are blurry, obstructed,

and accompanied by so many other game elements that the ordinary user will perceive them as

visual noise, contributing to realism, but not a focus.3



3
    Plaintiff stresses the possibility to zoom in, but the only evidence is that an ordinary user would not do so.


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            Fourth, the Lion Tattoo and Brother’s Keeper Tattoo are unprotectable as Plaintiff inked

     them from preexisting works—the Sistine Chapel, the Bible, and a playing card. And they are

     on the players’ chests, covered by jerseys in the game, such that there is no substantial similarity.

            Finally, in addition to Plaintiff’s claim failing on the merits, his request for statutory

     damages and attorney’s fees should be dismissed. As this Court previously held, the Copyright

     Act forecloses such remedies for “any infringement of copyright commenced after first

     [publication] of the work and before the effective date of its registration.” MTD Op. (Dkt. 17)

     10. Here, as the copyrights were registered after the purported infringement began, the remedies

     are barred. Although this Court indicated that discovery was needed to assess whether NBA 2K

     should be viewed holistically or if each annual release is a distinct act of purported infringement,

     id. at 11, discovery has established that the series should indeed be viewed holistically.

            Plaintiff is attempting to change copyright law to wrest control of the NBA Players’

     likenesses away from them (after the tattoos became permanent parts of their appearance), and

     create novel liability for the accurate and consensual depiction of tattooed people that the

     tattooist knew would be depicted. Thus, Take-Two respectfully requests that this Court grant its

     motion, dismiss Plaintiff’s claims, and hold that he is not entitled to statutory damages or fees.

                                 STATEMENT OF MATERIAL FACTS

I.          THE TATTOOS

            The NBA Players have been professional basketball players for the NBA since 2003,

     2009, and 2011 respectively. James Decl. ¶ 2; Decl. of Daniel Green (“Green Decl.”) ¶ 2; Decl.

     of Tristan Thompson (“Thompson Decl.”) ¶ 2; Means Decl. Ex. 33 (NBA Player Profiles). Each

     athlete regularly appears in media bearing their various tattoos, including the Tattoos at issue.

     Id.; Means Decl. Ex. 11 (Pl.’s Tr.) 50:1–7. Their Tattoos reflect their personal expression and

     identity. James Decl. ¶ 9; Thompson Decl.¶ 4; Green Decl. ¶ 4; Decl. of Nina Jablonski


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(“Jablonski Decl.”) ¶ 47; Means Decl. Ex. 11 (Pl.’s Tr.) 139:16–19.4

         In 2007, at Mr. James’ request, Plaintiff inked Mr. James’ mother’s name,

“Gloria,” alongside a crowned lion on Mr. James’ right arm (top right) (“Gloria

Tattoo”) to cover up a pre-existing tattoo of a lion. James Decl. ¶ 6; Means Decl.

Ex. 11 (Pl.’s Tr.) 56:11–17. Next, in 2008, at Mr. James’ request, Plaintiff

inked a lion on Mr. James’ chest (middle right) (“Lion Tattoo”) by

copying a lion from a playing card that Mr. James provided. James Decl. ¶

8; Means Decl. Exs. 11 (Pl.’s Tr.) 81:25–82:13; 12 (Tovanche Tr.) 117:12–

119:13. Then, at Mr. James’ request, Plaintiff inked five stars (bottom right)

(“Shoulder Stars Tattoo”) across Mr. James’ left shoulder. James Decl. ¶ 7;

Means Decl. Exs. 11 (Pl.’s Tr.) 72:8–10; 12 (Tovanche Tr.) 129:4–130:9.

         Around 2012, Plaintiff inked additional flames (top right) (“Fire Tattoo”)

on Danny Green’s arm at Mr. Green’s request around a pre-existing tattoo of a

basketball player with flames around his image, done by a different tattooist.

Green Decl. ¶¶ 5–6; Means Decl. Exs. 11 (Pl.’s Tr.) 91:3–14; 93:3–94:11; 22 (Pl.’s Resp. 1st

Interrogs.) No. 1. Later, at Mr. Green’s request, Plaintiff inked clouds on

Mr. Green’s right inner arm (middle right) (“Scroll Tattoo”) around a pre-

existing scroll tattoo with the names of Mr. Green’s brothers, done by a

different tattooist. Green Decl. ¶ 7; Means Decl. Ex. 11 (Pl.’s Tr.) 98:21–99:1, 99:23–100:10.

Finally, in or around 2012, at Tristan Thompson’s request, Plaintiff

inked the words “My Brother’s Keeper” and an image of two fingers

touching (bottom right) (“Brother’s Keeper Tattoo”) on Mr. Thompson’s chest. Thompson Decl.



4
     See also Means Decl. Exs. 11 (Pl.’s Tr.) 31:3–5; 12 (Tovanche Tr.) 33:21–34:21, 36:3–14.


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¶ 5; Means Decl. Ex. 11 (Pl.’s Tr.) 112:24–113:15.

       Each of the Tattoos was selected and approved by the NBA Players. James Decl. ¶ 5;

Thompson Decl. ¶¶ 6–7; Green Decl. ¶ 8; Means Decl. Exs. 22 (Pl.’s Resp. 1st Interrogs.) No. 1;

11 (Pl.’s Tr.) 75:8–22, 95:13–16; 13 (Hayden Tr.) 127:8–11, 22:17–23. And each of the Tattoos

was paid for by the NBA Players. Means Decl. Ex. 22 (Pl.’s Resp. 1st Interrogs.) No. 1.

       When Plaintiff inked the NBA Players, he knew that they were professional basketball

players who would appear on television with their tattoos. Id. Ex. 11 (Pl.’s Tr.) 47:11–14,

49:13–17, 50:16–17, 91:25–92:9, 113:8–25, 114:12–15. Consistent with tattoo industry practice,

Plaintiff agreed that, when clients leave his tattoo parlor, they “can go about their life as they

wish without needing to run back to the tattooist for permission.” Id. at 156:8–13. He also

admitted that he did not tell the NBA Players that they would need his permission to appear in

video games with the Tattoos. Id. Exs. 11 (Pl.’s Tr.) 60:15–61:5, 156:3–7; 26 (Pl.’s Resp. Am.

RFA) Nos. 231–233. Plaintiff has never “told a player that they needed [his] permission before

appearing on television playing basketball,” never “told the NBA that they needed [his]

permission to depict players on television playing NBA games showing their tattoos,” and has

never “done anything to try to stop that.” Id. Ex. 11 (Pl.’s Tr.) 148:21–149:1. Indeed, Plaintiff

has never told any player that the player needed permission to appear in any media. Id. at

148:17–20, 152:3–7; id. Ex. 26 (Pls. Resp. Am. RFA) Nos. 188, 190, 192, 194, 196, 202.

       The NBA Players understood that they could display the Tattoos on their bodies and

allow others to depict their likenesses with their Tattoos. James Decl. ¶ 10; Thompson Decl. ¶

11; Green Decl. ¶ 11; Jablonski Decl. ¶¶ 34–40. Other tattooists, including Plaintiff’s own

colleague, Bernardino Tovanche, agree that clients do not need their tattooists’ permission to

show their tattoos in real life and in media. Jablonski Decl. Exs. 3 (Cornett Decl.) ¶¶ 16, 22; 5




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      (Wright Decl.) ¶ 6; 7 (G. Glatstein Decl.) ¶ 11; 8 (C. Alexander Tr.) 66:2–8; Means Decl. Ex. 12

      (Tovanche Tr.) 165:9–20; 168:23–169:6. Indeed, Plaintiff himself has tattoos and has never

      asked permission from a tattooist before appearing in photographs, videos, or commercials

      showing the tattoos on his body. Means Decl. Ex. 11 (Pl.’s Tr.) 39:4–23. And Dr. Jablonski

      confirmed that it is industry practice that, “[o]nce a tattoo has been inked on a client’s skin, the

      tattooist exercises no control over it because the tattoo itself is part of the client’s body.”

      Jablonski Decl. ¶ 34.

II.           TAKE-TWO’S NBA 2K VIDEO GAME SERIES

              Take-Two creates NBA 2K, a series of basketball simulation video games. Decl. of

      Alfredo Brody (“Brody Decl.”) ¶ 2; Means Decl. Ex. 27 (Pl.’s Resp. 2d RFA) No. 242. As

      explained by Take-Two’s Vice President, Head of Global Sports Marketing, Alfredo Brody,

      NBA 2K is a realistic depiction of NBA basketball and includes a number of elements that appear

      in real world NBA basketball. Brody Decl. ¶¶ 3–4; Means Decl. Exs. 14 (Argent Tr.) 57:16–22;

      19 (Brody Tr.) 60:7–14; 1–5 (NBA 2K gameplay videos); 6–10 (NBA 2K16, NBA 2K17, NBA

      2K18, NBA 2K19, NBA 2K20, respectively). As explained by Take-Two’s video game expert,

      Dr. Ian Bogost, in NBA 2K, the “player’s typical experience will involve looking at the

      basketball court in a manner similar to that of a television viewer or a fan watching the game

      from the stands.” Decl. of Ian Bogost (“Bogost Decl.”) ¶ 56; Means Decl. Ex. 14 (Argent Tr.)

      80:11–18, 82:1–7; 15 (Hsieh Tr.) 60:16–25. As can be seen from recordings of NBA 2K

      gameplay, Means Decl. Exs. 1–5, “[a]s plays take place, including shots, throw-ins, free-throws,

      substitutions, fouls, and other ordinary actions of the sport, the camera view adjusts accordingly,

      in a manner similar to the way a television broadcast of the sport might appear.” Bogost Decl.

      ¶ 58. Users “play action-oriented bouts of simulated basketball, either alone against the

      computer or with other people,” and can choose in each game from over 400 current and retired


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   NBA players to form teams to play against other teams. Bogost Decl. ¶ 54; Brody Decl.¶ 5.

            Other realistic visual elements include “the movement and behavior of the crowd, the

   coaches, the referees, team members on the bench,” and contextual events and situations like live

   and televised professional basketball. Bogost Decl. ¶ 60. NBA 2K also includes auditory

   components such as realistic announcers and sportscasters, cheering crowds, buzzers, and other

   elements meant to mimic a real basketball game. Bogost Decl. ¶¶ 60–61; Brody Decl.¶ 4.

III.        TAKE-TWO’S USE OF THE TATTOOS IN NBA 2K

            To depict the NBA Players, Take-Two obtained a license to portray their likenesses in the

   game from the NBA and the NBAPA, which were licensed by the NBA Players. Brody Decl.¶

   10; Means Decl. Exs. 14 (Argent Tr.) 32:19–35:24; 34–35 (NBA & NBAPA Contracts).5 The

   Tattoos are “part of” the players’ likenesses, and Take-Two had the right to show the players as

   they look in real life, including their tattoos. Means Decl. Ex. 20 (Thomas Tr.) 132:21–133:14.6

            To serve its artistic purpose of simulating NBA basketball, Take-Two accurately

   replicates the likenesses of the NBA Players precisely, including their height, build, skin, hair,

   facial features, and tattoos. Brody Decl.¶ 5; Means Decl. Exs. 16 (Zhang Tr.) 28:4–22, 101:10–

   14; 21 (Stauffer Tr.) 22:22–23:4, 23:16–25, 124:3–8. Plaintiff himself admitted that the NBA

   Players would not “look like themselves” without their tattoos, and that, “to depict the player

   realistically you would have to have his tattoos on him.” Means Decl. Ex. 11 (Pl.’s Tr.) 142:9–

   143:3. NBA players have been depicted in NBA 2K games with the tattoos they bear in real life

   since at least NBA 2K2, which was released in 2001. Brody Decl.¶ 8; Means Decl. Exs. 23



   5
        Id. Exs. 20 (Thomas Tr.) 94:21–95:8 (“Since we started making NBA games in 1997, it has been part of our
        agreement that we’re allowed to depict the NBA players, the NBA arenas, and their trademarks in the game.”);
        14 (Argent Tr.) 36:21–37:4 (describing Take-Two’s agreement with the NBA and NBAPA).
   6
        Id. Exs. 14 (Argent Tr.) 36:1–37:4, 140:6–22, 141:11–22 (“We’ve always understood that we had the rights to
        the players and the teams and the logos, likenesses, everything.”); 19 (Brody Tr.) 44:13–45:7.


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      (Defs.’ 2d Am. Resp. Interrogs.) No. 3; 20 (Thomas Tr.) 123:2–125:1.

               The NBA Players are “scanned” into NBA 2K using “photogrammetry,” which involves

      simultaneously taking hundreds of digital photographs of a player’s body from different angles

      to create a resulting “texture map.” Brody Decl. ¶¶ 5–7; Means Decl. Exs. 17 (Dawson Tr.)

      18:15–19, 46:23–47:17, 49:21–50:6, 68:18–22; 20 (Thomas Tr.) 89:12–90:10; Bogost Decl. ¶¶

      20–24, Exs. 6–8. Software then “wraps” the skin around a 3D model of that player, resulting in a

      realistic depiction similar to what would be captured by a digital camera. Means Decl. Ex. 17

      (Dawson Tr.) 79:19–80:8; Bogost Decl. ¶¶ 24–26, Exs. 9–10; Brody Decl.¶ 5. The process

      captures a players’ detailed likeness, from facial features, to build, to “scars, stretch marks, [and]

      moles” to anything else on the photographed skin. Means Decl. Ex. 18 (Friesch Tr.) 30:4–14.

               As the Tattoos appear only when the NBA Players are depicted, when the user does not

      select them from the hundreds of available players, the Tattoos do not appear. Brody Decl. ¶¶

      11–12; Bogost Decl. ¶¶ 77–80. Given the average screen size on which NBA 2K is played, the

      Tattoos appear smaller in NBA 2K than they do in real life and are often obstructed by clothing

      and armbands, out of focus, or difficult to notice among the rapid movements of the basketball

      game. Bogost Decl. ¶¶ 93, 107; Means Decl. Ex. 17 (Dawson Tr.) 98:21–99:4. Thus, “no matter

      the camera configuration or zoom, the ordinary player will perceive the Tattoos as a kind of

      visual noise creating realism in the environment and the character.” Bogost Decl. ¶ 97.

IV.            PLAINTIFF AND THE MARKET FOR TATTOOS

               Despite the fact that NBA players have appeared with their tattoos in NBA 2K since at

      least 2001, no tattooist has ever demanded payment for tattoos in the game until Plaintiff.7



      7
           In Solid Oak, the claim was not brought by the tattooists but by a company that bought the rights to the tattoos
           from them for what they believed was an unrelated purpose—those tattooists submitted declarations disagreeing
           with Solid Oak’s position. Jablonski Decl. Exs. 3–5 (Solid Oak Tattooists Decls.).


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Brody Decl. ¶ 21. None of the witnesses in this case, including Plaintiff’s own experts, are

aware of a market for tattoos in video games. Bogost Decl. ¶ 9; Jablonski Decl. ¶¶ 61–69; Decl.

of James Malackowski (“Malackowski Decl.”) App’x A, at 30–32 (“Mr. Hayden has not

identified evidence showing that a market exists for licensing to video games . . . .”). Plaintiff’s

expert, Dr. Lenzo, has not observed any market for tattoos having formed in the two decades

NBA 2K has been depicting tattoos. Means Decl. Ex. 30 (Lenzo Tr.) 263:16–264:4.

         Plaintiff admitted that he has never “licensed a tattoo for a video game” or been

“approached” for a license for video games, and he is “not aware of any tattooist who has

licensed tattoos for inclusion in a video game.” Id. Exs. 11 (Pl.’s Tr.) 173:6–10, 177:24–178:6;

28 (Pl.’s Resp. RFA) No. 240. Indeed, prior to this lawsuit, he “never attempted to license

tattoos for use in video games.” Id. Ex. 11 (Pl.’s Tr.) 177:24–178:2.8 Jon Hayden, Plaintiff’s

brother and another professional tattooist, similarly could not remember any instance in which he

told someone they needed his permission before appearing in a photograph or ever objected to an

athlete being shown in media with tattoos he inked. Means Decl. Ex. 13 (Hayden Tr.) 49:7–12,

54:4–11, 55:8–17, 59:15–18, 72:13–73:9, 93:25–94:5. Other tattooists similarly have never

heard of requiring permission to be depicted in media. Jablonski Decl. Ex. 7 (Glatstein Decl.) ¶

12; Means Decl. Ex. 12 (Tovanche Tr.) 182:3–19. And Plaintiff testified that he does not know

of any lost customers, revenue, income, or licensing opportunities from the depiction of the

Tattoos in NBA 2K. Id. Ex. 11 (Pl.’s Tr.) 208:10–211:1, 212:4–16.




8
     Although Plaintiff produced a handful of releases (not licenses) for some tattoos, none of them are for video
     games and many do not even concern tattoos inked on people. Bogost Decl. ¶ 117 n.96; Means Decl. Exs. 24
     (Pl.’s Resp. 2d Interrogs.) No. 17; 36 (Pl.’s Tr. Exs. 26, 31, 33, 35, 36, 38, 39, 41, and 42). Also, most of them
     were either unsigned or signed after Solid Oak and this litigation commenced, which raised a cloud on accepted
     practices. As Dr. Bogost explained, unlike the video game industry, in the film and television industry it is not
     uncommon to obtain releases, even if the releases would not be necessary. Bogost Decl. ¶ 117 n.96.


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                                               ARGUMENT

            Courts grant summary judgment if there is “no genuine dispute as to any material fact”

     and the movant “is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The movant

     informs “the district court of the basis for its motion” and the matter “it believes demonstrate[s]

     the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323

     (1986). Then, the non-moving party must present evidence establishing disputed issues as to

     material facts. See Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586–

     87 (1986). Conclusory allegations and unsupported speculation are insufficient. See id.

I.          TAKE-TWO’S USE OF THE TATTOOS WAS FAIR

            Courts regularly dismiss copyright claims on summary judgment under the doctrine of

     fair use. See, e.g., Nat’l Rifle Ass’n of Am. v. Handgun Control Fed’n of Ohio, 15 F.3d 559, 561

     (6th Cir. 1994) (affirming finding of fair use on summary judgment); Stephens v. Hayes, 374 F.

     App’x 620, 624 (6th Cir. 2010) (same). As the Solid Oak court concluded, “no reasonable fact

     finder could determine that Defendants’ use of the Tattoos in NBA 2K was not fair use.” 449 F.

     Supp. 3d at 350. The same is true here based on this case’s undisputed facts.

            A.      Factor One: Take-Two’s Use Is Transformative and Its Profits Are Not
                    Attributable to the Tattoos

            The first fair use factor requires consideration of two main sub-factors: (1) transformative

     use, and (2) commercial use. Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 578–79 (1994).

                    1.      Take-Two’s Use of the Tattoos Is Transformative

            The Supreme Court has said that a work is transformative where, instead of

     “supersed[ing] the objects of the original creation,” it “adds something new, with a further

     purpose or different character.” Id. at 579 (internal quotation marks omitted). It can be

     “transformative in function or purpose [even] without altering or actually adding to the original



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work.” Castle v. Kingsport Publ’g Corp., No. 19 Civ. 92, 2020 WL 7348157, at *5 (E.D. Tenn.

Dec. 14, 2020) (quoting Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P., 756 F.3d 73, 84 (2d

Cir. 2014)). Each of the considerations used by courts to determine transformativeness, Bill

Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 609–611 (2d Cir. 2006), supports

Take-Two. We discuss each consideration in turn.

       Different Purposes. The first consideration is “whether the two works have different

purposes.” Solid Oak, 449 F. Supp. 3d at 347; Lexmark Int’l, Inc. v. Static Control Components,

Inc., 387 F.3d 522, 544 (6th Cir. 2004) (first factor favored fair use where works were used for

“[different] purposes”). Courts have held that using visual works to depict real world people or

events is a different purpose than the work’s original, expressive purpose, supporting a finding of

transformativeness. For example, using Grateful Dead concert posters as “historical artifacts to

document and represent the actual occurrence of Grateful Dead concert events” was a different

purpose from the posters’ original “artistic expression and promotion[al]” value. Bill Graham,

448 F.3d at 609. Similarly, showing a logo “as part of the historical record” was different from

the logo’s original purpose “as the brand symbol for the team.” Bouchat v. Balt. Ravens Ltd.

P’ship, 737 F.3d 932, 940 (4th Cir. 2013) (transformative to use, “not for its expressive content,

but rather for its factual content” and as a “historical guidepost”); SOFA Ent., Inc. v. Dodger

Prods., Inc., 709 F.3d 1273, 1278 (9th Cir. 2013) (using Ed Sullivan Show clip “as a biographical

anchor” within the fictional musical Jersey Boys constituted transformative use).

       Here, Plaintiff explicitly admits that “[p]layer accuracy . . . including having accurate

tattoos” was “an important factor in the Accused Games’ ‘realism.’” Means Decl. Ex. 25 (Pl.’s

Suppl. Resp. Interrogs.) No. 20; Solid Oak, 449 F. Supp. 3d at 347. This use is different from

Plaintiff’s purpose of inking requested tattoos on players as “a reflection of [their] personal




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expression.” Jablonski Decl. ¶ 42; supra 4. And the fact that the NBA Players are professional

basketball players makes this transformative purpose stronger. See Monster Commc’ns, Inc. v.

Turner Broad. Sys., Inc., 935 F. Supp. 490, 494 (S.D.N.Y. 1996) (use of film footage depicting

Muhammed Ali was transformative, due to his status as a “figure of legitimate public concern”).9

         Size of the Reproductions. It is well-recognized that when a work is shown at a reduced

size, this favors transformativeness. Solid Oak, 449 F. Supp. 3d at 347 (finding tattoos appearing

at 4.4% to 10.96% actual size in NBA 2K favored fair use). In Bill Graham, the concert posters

reproduced in the book were just small enough to “permit readers to recognize the historical

significance of the posters,” but not as large as the originals. 448 F.3d at 611. As the defendant

“used the minimal image size necessary to accomplish its” purpose, the use was

transformative. Id. Similarly, in Kelly v. Arriba Soft Corp., although the defendant “made exact

replications of Kelly’s images,” they were “smaller [and] lower-resolution” making it less likely

that they would substitute for the original works. 336 F.3d 811, 818 (9th Cir. 2003).

         Dr. Bogost calculated that, when the NBA Players’ real-life sizes are compared to their

in-game sizes on the average game screen, the Tattoos appear “1.11–10.3% the size.” Bogost

Decl. ¶ 76. Plaintiff even admits that the players, and by extension the Tattoos, are “smaller than

they are in real life.” Means Decl. Ex. 11 (Pl.’s Tr.) 161:20–162:3.

         Minimizing Expressive Value. The third consideration is “whether the expressive value

of the reproduced material is minimized,” which looks not only at size, but also the context in

which the work appears and whether it minimizes the expressive value. In Solid Oak, the court

found that “myriad other auditory and visual elements” in NBA 2K “minimized” their expressive

value. 449 F. Supp. 3d at 348. Similarly, in Bill Graham, the book included a “prominent


9
     Take-Two’s transformative use of the Tattoos is not lessened by NBA 2K being an entertainment property. See
     Hofheinz v. Discovery Commc’ns, Inc., No. 00 Civ. 3802, 2001 WL 1111970, at *4 (S.D.N.Y. Sept. 20, 2001).


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timeline, textual material, and original graphical artwork, to create a collage of text and images

on each page of the book.” 448 F.3d at 611. Moreover, the images were “displayed at angles,”

such that the overall layout “ensures that the images at issue are employed only to enrich the

presentation of the cultural history of the Grateful Dead, not to exploit copyrighted artwork for

commercial gain.” Id. Likewise, in Bouchat, the logo was “used only fleetingly and

insignificantly . . . limiting its expressive value.” 737 F.3d at 941. And, in Sarl Louis Feraud

Int’l v. Viewfinder Inc., the court noted that the argument for “transformative use is stronger”

where a “three-dimensional, life-sized” work was reduced to a smaller, 2D image imbued with

the defendant’s own creative expression. 627 F. Supp. 2d 123, 128 (S.D.N.Y. 2008).

       Here, NBA 2K is a “virtual world that mirrors the real world as closely as possible, while

giving players an immersive and entertaining experience,” Bogost Decl. ¶ 50, with “many

components, including graphics, characters, a fictitious plot, gameplay, and music.” Solid Oak,

449 F. Supp. 3d at 341 (alteration omitted). “[W]hen the Tattoos are depicted, they appear

among a plethora of other visual and auditory elements, including other tattoos.” Bogost Decl. ¶

76. In addition to there being a “mass of other visual features shown on screen,” the Tattoos are

often blocked, blurry, far away, moving, or out of frame. Brody Decl. ¶ 14–17; see infra 24. Far

from being prominent, they are just “visual noise creating realism” but not making a visual

impact, akin to hairstyles or facial features, Bogost Decl. ¶ 97, and “subordinated to the display

of the court and the players in competition.” Id. ¶ 90.

       Proportion of Copied Material. The fourth consideration is “the proportion of copied

material” in relation to the whole work. Solid Oak, 449 F. Supp. 3d at 347. In Bill Graham, the

images totaled less than “one-fifth of one percent of the book.” 448 F.3d at 611. Likewise, in

Bouchat, in the “vast majority of its appearances,” the logo was “present for fractions of a




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second, and [could] be perceived only by someone who [was] looking for it.” 737 F.3d at 940.

       Here, the Tattoos are a tiny fraction of NBA 2K. In terms of data, they are, at most,

“0.00515% of NBA 2K.” Bogost Decl. ¶ 113; Brody Decl.¶ 18. In terms of visuals, they often

do not appear. Supra 8. When they do, they are dwarfed by the “plethora of other visual and

auditory elements (including other tattoos) in NBA 2K.” Bogost Decl. ¶ 7. The Tattoos certainly

are far less of NBA 2K than the 0.2% that supported transformative use in Bill Graham.

       As each of these considerations favors Take-Two, its use of the Tattoos is transformative.

               2.      The Commercial Use Sub-factor Is Of Little Weight Here

       The Supreme Court has recognized that “many common fair uses are indisputably

commercial,” and whether a “use was a commercial endeavor . . . is not dispositive,” particularly

where the use is transformative. Google, 141 S. Ct. at 1204. Indeed, Solid Oak gave commercial

use little weight as the tattoos were indistinguishable in gameplay and “consumers do not buy”

NBA 2K for tattoos. 449 F. Supp. 3d at 348. That is the case here, where two of the tattoos are

covered by jerseys and the remainder are hard to pick out. Infra 24. Dr. Deborah Jay, an

esteemed survey expert, submitted a survey that showed that “there is no link between the sales

of the NBA 2K video games and their depiction of the tattoos” on the NBA Players. Decl. of

Deborah Jay Ex. A, at 8. This factor does not weigh against fair use. Swatch, 756 F.3d at 83

(“little weight” for commercial use given attenuate link from defendant’s gain to its copying).

       For the foregoing reasons, the first fair use factor weighs in favor of fair use.

       B.      Factor Two: The Tattoos Are Not Creative and Were Published

       The second fair use factor considers “whether the work was (1) ‘factual or creative’ and

(2) published or unpublished.” Castle, 2020 WL 7348157, at *6. Although the “second factor

has rarely played a significant role in the determination of a fair use dispute,” Authors Guild v.

Google, Inc., 804 F.3d 202, 220 (2d Cir. 2015), it favors Take-Two here.


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       First, any creativity of the Tattoos is thin at best, as the Tattoos are unoriginal. A work is

not original if it is a “mere reproduction of a [prior] work of art in a different medium.” Durham

Indus., Inc. v. Tomy Corp., 630 F.2d 905, 910 (2d Cir. 1980). Further, under the doctrine of

scènes à faire, elements that are “standard, stock, or that necessarily follow from a common

theme or setting” are not protectable. Lexmark, 387 F.3d at 535 (alterations omitted).

       Here, each Tattoo was copied from pre-existing works or used common tattoo elements.

As Mr. James’ Lion Tattoo is a direct copy of a playing card with the Venetian logo on it, supra

4, Plaintiff holds no copyrights in it. See infra 27. As Mr. Thompson’s Brother’s Keeper Tattoo

copies (a) a Biblical phrase and (b) Michelangelo’s Creation of Adam, Plaintiff also holds no

copyrights. Supra 4, infra 28. And as Plaintiff’s remaining tattoos merely use the common

elements of stars, clouds, flames, or lions, and two are merely minor additions to pre-existing

tattoos, supra 4; Jablonski Decl. ¶ 56, they are unprotectable scènes à faire.

       Moreover, any creativity must be weighed against the fact that Take-Two copied the

Tattoos to depict real-world subject matter realistically. See Consumers Union of U.S. v. Gen.

Signal Corp., 724 F.2d 1044, 1049 (2d Cir. 1983) (copying plaintiff’s work “in the interest of

accuracy” did not weigh against fair use); Bouchat, 737 F.3d at 943 (where use is related to

work’s role as “historical facts, then the creative nature of the work matters much less than it

otherwise would” (internal quotation marks omitted)). Plaintiff conceded that NBA 2K is more

realistic with the Tattoos. Means Decl. Ex. 25 (Pl.’s Suppl. Resp. Interrogs.) No. 20.

       Second, the Tattoos were published. 4th Am. Compl. (Dkt. 33) Exs. C–H. “Published

works are more likely to qualify as fair use because the first appearance of the artist’s expression

has already occurred.” Seltzer v. Green Day, Inc., 725 F.3d 1170, 1178 (9th Cir. 2013). This is

“a critical element of its ‘nature’” as copying “even a substantial quantity of a published work




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may be within the fair use doctrine.” Bell v. Worthington City Sch. Dist., No. 18 Civ. 961, 2020

WL 2905803, at *7 (S.D. Ohio June 2, 2020). Where a work is widely disseminated, as is the

case here, it favors fair use. Seltzer, 725 F.3d at 1178 (image on Internet and L.A. streets); Kelly,

336 F.3d at 820 (photographs posted on the Internet); Bell, 2020 WL 2905803, at *8 (work’s

“widely published nature” weighs in favor of fair use). This factor supports Take-Two.

       C.      Factor Three: Take-Two’s Copying Was Reasonable In Light of Its Purpose

       “The third factor asks whether the amount and substantiality of the portion of the work

used was reasonable in relation to the purpose of the copying.” Id. For some purposes, “copying

the entirety of a work is sometimes necessary to make a fair use of the image.” Castle, 2020 WL

7348157, at *7. Moreover, courts consider whether the copied material is “embedded” in a

“larger, transformative” work. Tresóna Multimedia, LLC v. Burbank High Sch. Vocal Music

Ass’n, 953 F.3d 638, 651 (9th Cir. 2020). Here, the Tattoos are 2D images used to depict real

life accurately, so using less than the whole would defeat Take-Two’s purpose of realism. Supra

8. And the Tattoos are just one small part of a much larger work composed of numerous other

elements. Thus, this factor does not weigh against fair use. See Bouchat, 737 F.3d at 949;

Seltzer, 725 F.3d at 1178; Núñez v. Caribbean Int’l News Corp., 235 F.3d 18, 24 (1st Cir. 2000).

       Moreover, it is well-established that when images are reproduced in a “reduced size,” the

“visual impact of their artistic expression is significantly limited,” which indicates that the use

“is tailored to further [the defendant’s] transformative purpose.” Bill Graham, 448 F.3d at 613.

Where, as here, the copyrighted work is displayed in its entirety but at “the minimal image size

and quality necessary to ensure” that it can be recognized as a “historical artifact[],” this factor

does not weigh against fair use. Id.; supra 11. Moreover, two of the tattoos are covered by

jerseys and unidentifiable, infra 27, and two are merely minor additions to pre-existing tattoos,

and are difficult to pick out. Supra 5. Thus, the third factor favors fair use.


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        D.      Factor Four: Take-Two Has Not Harmed the Tattoos’ Markets

        The fourth factor considers “whether the copying can be used as a substitute for the

plaintiff's original work.” Bell, 2020 WL 2905803, at *9 (alterations and internal quotation

marks omitted). This concern is “absent” where the copy and original do not compete. Id.

Moreover, “any economic ‘harm’ caused by transformative uses does not count because such

uses, by definition, do not serve as substitutes for the original work.” Authors Guild, Inc. v.

HathiTrust, 755 F.3d 87, 99 (2d Cir. 2014). Further, this factor must “take into account for

public benefit the copying will likely produce,” balancing any “dollar amounts likely lost” with

the benefits from the “creative production of new expression.” Google, 141 S. Ct. at 1206.

        In conducting this analysis, it cannot be overemphasized that Plaintiff’s own experts have

admitted that they have not seen “any documents that suggest anyone was buying NBA 2K as a

substitute for having a tattoo inked.” Means Decl. Exs. 31 (Malkiewicz Tr.) 44:14–44:24; 30

(Lenzo Tr.) 276:14–276:16 (“I can’t think of any reason why buying a video game would be a

substitute for getting a tattoo . . . .”). These admissions are critical as fair use exists where the

parties’ works are not substitutes for each other. See Authors Guild v. Google, Inc., 804 F.3d at

214 (fair use where use does not “serve as a substitute”); HathiTrust, 755 F.3d at 95 (fair use

“must not excessively damage the market for the original by providing . . . a substitute”); Solid

Oak, 449 F. Supp. 3d at 350 (“[U]se of the Tattoos in NBA 2K could not ‘deprive the rights

holder of significant revenues’ because potential purchasers of the Tattoo designs are unlikely to

‘opt to acquire the copy in preference to the original.’”).

        Plaintiff cannot claim a potential market for the use of the Tattoos made by Take-Two.

Courts warn that “it is a given in every fair use case that plaintiff suffers a loss of a potential

market if that potential is defined as the theoretical market for licensing the very use at bar.”

Swatch, 756 F.3d at 91 (emphasis in original). To “guard against this vice of circular reasoning,”


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the factor four inquiry is limited “to a use’s impact on potential licensing revenues for traditional,

reasonable, or likely to be developed markets.” Id. (internal quotation marks omitted). “[W]ere

a court automatically to conclude in every case that potential licensing revenues were

impermissibly impaired simply because the secondary user did not pay a fee for the right to

engage in the use, the fourth fair use factor would always favor the copyright holder.” Bill

Graham, 448 F.3d at 614.10

          The undisputed facts support a finding that video games are not a reasonable, traditional,

or likely to develop market for tattoos. First, Take-Two minimally uses the Tattoos to

realistically depict the NBA Players. Supra 8. “The video game industry would not reasonably

anticipate licensing the Tattoos” for this purpose. Bogost Decl. ¶ 120; see also Bouchat, 737

F.3d at 943 (market harm unlikely where use “transient and fleeting” or for “its factual, and not

its expressive, content”). Second, a “tattooist would not want to encumber his or her clients by”

requiring a license under these circumstances. Jablonski Decl. ¶¶ 47, 65 (tattoo industry norm is

not to “seek to control their tattoos as they appear on their clients.”); supra 9. Indeed, as Dr.

Jablonski explains, “tattooists anticipate and welcome the idea that the tattoos they ink will

appear in all manner of commercial products,” because “most success in the industry is based on

referrals and word-of-mouth.” Jablonski Decl. ¶ 66. Requiring a license would inhibit clients

from sharing and displaying their tattoos, and hurt business. Id. ¶¶ 43, 66.

          Third, Plaintiff’s own conduct shows that a market is unlikely to develop. Plaintiff

conceded that (a) he has never “licensed a tattoo for a video game,” and he is “not aware of any

tattooist who has licensed tattoos for inclusion in a video game,” Means Decl. Ex. 11 (Pl.’s Tr.)

173:6–10; (b) prior to this lawsuit, he “never attempted to license tattoos for use in video


10
      Plaintiff hired an expert to speculate as to whether such a market could form as Plaintiff is willing to license the
      Tattoos. Means Decl. Ex. 29 (Lenzo Rpt.) ¶ 102. That, however, is not a proper basis for arguing market harm.


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games,” id. at 177:24–178:2; and (c) no one had ever approached him seeking permission to

license tattoos he inked on real people for video games, id. at 178:3–6. Likewise, other tattooists

have explained that video game companies do not need licenses from them. Jablonski Decl. Exs.

3–5. These admissions are fatal to Plaintiff’s case. See Blanch v. Koons, 467 F.3d 244, 258 (2d

Cir. 2006) (admission that copyright owner had “never licensed any of her photographs for” the

use made by defendant weighed in favor of fair use); Est. of Smith v. Cash Money Records, Inc.,

253 F. Supp. 3d 737, 752 (S.D.N.Y. 2017) (fourth factor favored fair use where “Plaintiffs never

attempted to establish a market for licensed derivative uses . . . until Defendants used the

recording on the Album”); Viewfinder, 627 F. Supp. 2d at 136 (market harm “undermined by the

fact that plaintiffs do not themselves sell or license photos of their designs to the media”).11

          Thus, video game expert Dr. Bogost, tattoo expert Dr. Jablonski, and economist

Mr. Malackowski confirmed that video games are not a reasonable, traditional, or likely to be

developed market for the Tattoos. Bogost Decl. ¶ 9; Jablonski Decl. ¶¶ 46–47; Malackowski

Decl. App’x A, at 31. And Plaintiff’s own expert is “not aware of existing licenses for” such

use. Means Decl. Ex. 29 (Lenzo Rpt.) ¶ 64. As “Plaintiff is trying to create a market in this case

that has never existed before and would not be reasonable or likely to be developed based on the

customs and practices of the tattoo industry,” Jablonski Decl. ¶ 61, this factor supports fair use.

          Finally, in addition to Plaintiff’s inability to show cognizable harm to an existing or

potential market, the public benefit from including real-world Tattoos in NBA 2K is paramount in

this analysis. As discussed above, Plaintiff admits he has lost no sales. Supra 9. By contrast,

NBA 2K is an extremely creative basketball simulation game that Plaintiff admits would not be


11
      A market also is unlikely to develop because Plaintiff has not obtained the players’ publicity or trademark
      rights, which it needs to commercialize the Tattoos. Cf. Bouchat v. Balt. Ravens Ltd. P’ship, No. 08 Civ. 397,
      2011 WL 5445947, at *2 (D. Md. Nov. 9, 2011) (lack of harm due to copyright holder being “limited (perhaps
      totally) in his commercial use of the [copyrighted work] by virtue of Defendants’ trademark rights”).


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      realistic without the Tattoos. Means Decl. Ex. 11 (Pl.’s Tr.) 142:9–143:3. As Mr. Brody

      explained, if Plaintiff “prevails in this lawsuit, it would create a significant restriction on Take-

      Two’s (and the rest of the video game industry’s) ability to make realistic video games.” Brody

      Decl. ¶ 22. It simply would be “impossible to identify all of the tattooists, much less negotiate

      with them.” Id. ¶ 23. It would impact any industry that seeks to accurately depict real people

      with their tattoos, from film to photography to television. And it would also impede self-

      expression by limiting people’s ability to show permanent parts of their body; “[p]eople who get

      tattoos to express themselves would suddenly be unable to show them confidently,” without

      fearing a lawsuit from a tattooist. Id. ¶ 24. Thus, Take-Two’s use is fair because it promotes the

      creation of new works as required by the Constitution, instead of suppressing them. See Google,

      141 S. Ct. at 1208 (fair use where copyright would harm the public by increasing costs and

      creating other difficulties for the creation of new works).

II.          TAKE-TWO’S USE OF THE TATTOOS WAS AUTHORIZED

             Plaintiff’s claim also fails as Take-Two’s use was authorized. As the Copyright Act

      prohibits only unauthorized use, 17 U.S.C. §§ 106, 501, a “copyright owner waives the right to

      sue . . . for uses of copyrighted material that are authorized.” Great Minds v. FedEx Office &

      Print Servs., Inc., 886 F.3d 91, 94 (2d Cir. 2018). Here, the NBA Players gave the NBA and

      NBAPA the right to license their likenesses (including the Tattoos) to third parties, which they in

      turn licensed to Take-Two. James Decl. ¶ 13; Green Decl. ¶ 15; Thompson Decl.¶ 13; Means

      Decl. Exs. 20 (Thomas Tr.) 132:9–133:2; 34–35 (NBA & NBAPA Contracts); Brody Decl.¶ 10.

             Moreover, Plaintiff impliedly licensed the NBA Players to allow others to depict their

      tattoos as part of their likenesses. Copyright law recognizes that a license “may be granted

      orally, or may be implied from conduct.” Murphy v. Lazarev, 589 F. App’x 757, 765 (6th Cir.

      2014) (quoting Johnson v. Jones, 149 F.3d 494, 500 (6th Cir. 1998)). Thus, courts regularly


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dismiss copyright claims on summary judgment where the use was authorized, even impliedly.

See, e.g., Mahavisno v. Compendia Biosci., Inc., 164 F. Supp. 3d 964, 968–69 (E.D. Mich.

2016). A license is implied when “[1] a person (the licensee) requests the creation of a work, [2]

the creator (the licensor) makes that particular work and delivers it to the licensee who requested

it, and [3] the licensor intends that the licensee-requestor copy and distribute his work.” I.A.E.,

Inc. v. Shaver, 74 F.3d 768, 776 (7th Cir. 1996); Solid Oak, 449 F. Supp. 3d at 346 (implied

license created where tattooist created tattoo at player’s request). As to the first and second

prongs, there is no dispute that each Tattoo was created and inked on the NBA Players’ skin at

the players’ requests, so these are readily satisfied. Supra 5.

       As to the third prong, the undisputed facts make Plaintiff’s intent manifest. In analyzing

this prong, courts consider, among other things:

       (1) whether the parties were engaged in a short-term discrete transaction as
       opposed to an ongoing relationship; (2) whether the creator utilized written
       contracts [] providing that copyrighted materials could only be used with the
       creator’s future involvement or express permission; and (3) whether the creator’s
       conduct during the creation or delivery of the copyrighted material indicated that
       use of the material without the creator’s involvement or consent was permissible.

Photographic Illustrators, Corp. v. Orgill, Inc., 953 F. 3d 56, 61 (1st Cir. 2020).

       Here, each factor supports Take-Two. First, inking the Tattoos was a discrete

transaction. The NBA Players requested the tattoo, paid for it, and left; there was no ongoing

relationship. Green Decl. ¶ 5; Thompson Decl. ¶ 7; James Decl. ¶¶ 5–8, 10–11; Means Decl. Ex.

11 (Pl’s Tr.) 52:18–54:17, 76:9–23. Plaintiff admits that, when the players left his shop, they

could go about their lives without returning for permission. Supra 6. This supports an implied

license. See Foad Consulting Grp., Inc. v. Azzalino, 270 F. 3d 821 (9th Cir. 2001) (license

where architect hired for discrete task, not ongoing project).

       Second, it is undisputed that Plaintiff did not have written contracts disclosing that tattoos



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could be used only with his future permission. Means Decl. Exs. 11 (Pl.’s Tr.) 62:6–69:21,

155:14–19; 37 (Pl.’s Tr. Ex. 5). This further supports an implied license. See Reinicke v.

Creative Empire, LLC, 38 F. Supp. 3d 1192, 1200 (S.D. Cal. 2014) (implied license as no

“conduct or written contract” required plaintiff’s “permission” or “future involvement”).

          Third, Plaintiff’s conduct indicated that further use of the tattoos without his involvement

was permissible. This was critical in the Solid Oak decision, where the court emphasized that the

NBA players “were neither requested nor agreed to limit the display or depiction of the images

tattooed on their bodies.” 449 F. Supp. 3d at 346 (tattooists did not limit use of tattoos even

though they knew players were likely to appear “in public, on television, in commercials, or in

other forms of media”). Here, despite knowing that the NBA Players were famous, Plaintiff

admitted that he has never “told a player that they needed [his] permission before appearing on

television playing basketball,” nor has he ever “told the NBA that they needed [his] permission

to depict players on television playing NBA games showing their tattoos,” and he has never

“done anything to try to stop that.” Means Decl. Ex. 11 (Pl.’s Tr.) 156:3–13, 148:21–149:1.

And the Messrs. Green, James, and Thompson appeared in NBA 2K with their Tattoos since at

least 2011, 2013, and 2014 respectively, without any objection from Plaintiff and without being

informed that they needed his permission. Supra 5.12

          This undisputed conduct indicated that use of the material without the creator’s

involvement or consent was permissible, which further supports the finding of an implied

license. See Photographic, 953 F.3d at 66 (lack of objection supported summary judgment on

implied license defense); I.A.E., 74 F.3d at 777 (delivery of designs “without any warning that



12
      The Alexander court denied summary judgment because it was “unclear whether Alexander and Orton
      discussed permissible forms of copying and distributing the tattoo works.” 489 F. Supp. 3d at 820. Here, there
      is no dispute as to what was said (and unsaid), as both Plaintiff and Mr. Tovanche confirmed it. Supra 5.



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   their further use would constitute copyright infringement” supported finding of license);

   LimeCoral, Ltd. v. CareerBuilder, LLC, 889 F.3d 847, 851 (7th Cir. 2018) (copyrighted work

   conveyed without “a limitation imposed on the license at the time the[] work[] w[as] delivered”

   impliedly granted to defendant all of the rights of plaintiff as a copyright holder).13

             The existence of an implied license also is consistent with industry practice. See

   Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 957 (11th Cir. 2009) (music industry practice

   determined implied license); Photographic, 953 F.3d at 65 (“nature of the business” made it

   “obvious” plaintiff wanted defendant to use work, i.e., implied license). Dr. Jablonski explained

   that the practice is that “[o]nce a tattoo has been inked on to the client’s skin, the tattooist

   exercises no control over it because the tattoo itself is part of the client’s body.” Jablonski Decl.

   ¶ 30.14 Tattooists and clients “intend the client to be free to display the tattoo himself or herself

   and be permitted to license to others the ability to display the tattoo.” Id. ¶ 32. Other tattooists,

   including Mr. Tovanche, agree that this is the industry standard. Supra 9. Thus, the NBA

   Players “are free to authorize the use or dissemination of their … likeness in whatever way they .

   . . see fit without the necessity of seeking permission from the tattooist.” Jablonski Decl. ¶ 32.

III.         TAKE-TWO’S USE OF THE TATTOOS IS DE MINIMIS

             The third reason that Plaintiff’s copyright claim fails is that Take-Two’s use is de

   minimis. In the Sixth Circuit, courts regularly grant summary judgment on de minimis use

   where, as here, the alleged work and accused work are undisputed, as de minimis use is a

   question for the court. Gordon v. Nextel Commc’ns & Mullen Advert., Inc., 345 F.3d 922, 924



   13
         “[C]onsent given in the form of mere permission or lack of objection is also equivalent to a nonexclusive
         license[.]” ITOFCA, Inc. v. MegaTrans Logistics, Inc., 322 F.3d 928, 940 (7th Cir. 2003).
   14
         These industry norms are further evidenced by the fact that, in Solid Oak, the claim was not brought by the
         tattooists. In fact, the tattooists submitted declarations explaining that they disagreed with Solid Oak’s position
         on the rights of the players. Jablonski Decl. Exs. 3–5 (Solid Oak Tattooists Decls.).


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(6th Cir. 2003) (affirming grant of summary judgment). Courts consider “the amount of the

copyrighted work that was copied, as well as the observability of the copyrighted work in the

allegedly infringing work.” Id. “Observability is determined by the length of time the

copyrighted work appears in the allegedly infringing work, as well as the prominence in that

work as revealed by the lighting and positioning of the copyrighted work.” Id.15

          Solid Oak concluded that NBA 2K’s use of tattoos is de minimis as the “average game

play is unlikely to include the players with the Tattoos and that, even when such players are

included, the display of the Tattoos is small and indistinct, appearing as rapidly moving visual

features of rapidly moving figures in groups of player figures”; when tattoos “do appear during

gameplay,” they “are significantly reduced in size”; and the “quick and erratic movements up

and down the basketball court make it difficult to discern” tattoos. 449 F. Supp. 3d at 343–45.

          The same facts and reasoning apply here: the Tattoos are not observable in the ordinary

play of NBA 2K for multiple reasons. First, as Dr. Bogost explained, “in the average game of

NBA 2K,” the NBA Players and by extension the Tattoos “will not appear” as of the over 400+

NBA players available, only “two teams of 5 on-court players each” will be selected. Bogost

Decl. ¶¶ 76, 79; Means Decl. Ex. 31 (Malkiewicz Tr.) 63:19–23. Indeed, it is undisputed that

“the Tattoos only appear in NBA 2K as they are inked on the NBA Players.” Bogost Decl. ¶ 78;

Means Decl. Ex. 11 (Pl.’s Tr.) 158:13–15 (admitting that, “in the NBA 2K games, the tattoos . . .

only appear on the players who bear them in real life”). Thus, Take-Two’s use is even less than

cases where de minimis use was found despite a work always appearing. See Gordon, 345 F.3d

at 924 (use of work that appears every time commercial is shown de minimis).

          Second, even in the limited instances when the three players are selected, unlike an NBA


15
      The Alexander court denied summary judgment, questioning whether “the Seventh Circuit recognizes this
      defense.” 489 F. Supp. 3d at 823. The Sixth Circuit clearly does. See Gordon, 345 F.3d at 923–25.


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game, each quarter in NBA 2K lasts only a few minutes. Brody Decl.¶ 15. As the Solid Oak

court observed, such “stopwatch-in-hand observations” often are decisive in de minimis use

decisions. Solid Oak Sketches, LLC v. 2K Games, Inc., No. 16 Civ. 724, 2018 WL 1626145, at

*4 (S.D.N.Y. Mar. 30, 2018) (citing Sandoval v. New Line Cinema Corp., 147 F.3d 215, 216 (2d

Cir. 1998) (1.5 minutes is de minimis use), and Gottlieb Dev. LLC v. Paramount Pictures Corp.,

590 F. Supp. 2d 625, 632 (S.D.N.Y. 2008) (3.5 minutes is de minimis use)).

       Third, the other observability factors weigh in favor of de minimis use. Dr. Bogost’s

unrebutted calculation is that the Tattoos are depicted “1.11–10.3% the size that they appear in

real life” due to the average screen size that NBA 2K is played on. Bogost Decl. ¶ 83. On the

rare occasion the Tattoos are depicted, they are surrounded by a host of visual and auditory

elements, including the arena, court, cheerleaders, crowds, commentators, buzzers, squeaking

shoes, music, and others elements. Means Decl. Ex. 28 (Pl.’s Resp. RFA) Nos. 20–30. The

observability of the Tattoos is further lessened by the fact, conceded by Plaintiff’s expert, that

numerous other game elements—like “uniforms,” other “players,” and “referees”—cause tattoos

to be “obstructed from view,” id. Ex. 31 (Malkiewicz Tr.) 64:1–65:8, the fact that they are

depicted among many other tattoos on the NBA Players, id. at 23:14–25, and the fact, conceded

by Plaintiff, that the NBA Players “move around quickly and jump and run and block as if

they’re playing basketball.” Id. Exs. 11 (Pl.’s Tr.) 165:10-13; 31 (Malkiewicz Tr.) 63:8–18;

Bogost Decl. ¶ 96. Moreover, as Mr. Brody explained, the NBA Players often move amongst

other players and are blocked by them, their tattoos may appear blurry and out of focus as they

move, the camera distance makes them difficult to see, and they will not always be in frame as

the camera moves to follow the action. Brody Decl. ¶ 16. Combined, these elements make it

such that “the ordinary player will perceive the Tattoos as a kind of visual noise creating realism




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      in the environment and the character.” Bogost Decl. ¶ 97.16

                In addition to being a tiny part of NBA 2K’s audio-visual display, the Tattoos are a

      fractional piece of its program. The game files that include the Tattoos comprise, at most,

      0.00515% of NBA 2K’s game data, Bogost Decl. ¶ 113; Brody Decl.¶ 18,17 and Plaintiff’s expert

      did not offer any competing estimate of the file size. Means Decl. Ex. 34 (Malkiewicz Tr.)

      245:4–9. This too weighs in favor of a finding of de minimis use. See MiTek Holdings, Inc. v.

      Arce Eng’g Co., Inc., 89 F.3d 1548, 1560 (11th Cir. 1996) (no infringement as protectable

      elements “were not of such significance to the overall program to warrant an ultimate finding of

      substantial similarity”). Moreover, the Lion Tattoo and Brother’s Keeper Tattoo are covered up

      almost entirely, see infra 28, and the Fire Tattoo and Scroll Tattoo were additions to pre-existing

      tattoos, supra 5, making these Tattoos barely “observable,” if at all. Gordon, 345 F.3d at 924.

IV.             TWO OF THE TATTOOS ARE UNPROTECTABLE AND, IN ANY CASE,
                PLAINTIFF CANNOT SHOW SUBSTANTIAL SIMILARITY

                Plaintiff cannot state a claim with regard to the Lion Tattoo and Brother’s Keeper Tattoo

      for two more reasons. First, they were copied from preexisting material and, thus, are not

      protectable. The Lion Tattoo was copied, without authorization, from another source, and

      “protection for a work employing preexisting material in which copyright subsists does not

      extend to any part of the work in which such material has been used unlawfully.” 17 U.S.C. §

      103(a); see Psychopathic Recs., Inc. v. Anderson, No. 08 Civ. 13407, 2009 WL 2591385, at *2



      16
            Plaintiff may argue that it is possible to pause and zoom in on the Tattoos, but that would true of any visual
            work, and accepting that hypothetical scenario would eviscerate the de minimis use doctrine. And, as
            Dr. Bogost explained, this is simply not how people play NBA 2K. Means Decl. Ex. 32 (Bogost Tr.) 167:15–21
            (“[M]y work in this case was about the visibility of the tattoos in ordinary circumstances to a player, not
            whether it’s possible to contort and manipulate the game into one in which the most visible rendition of a
            portion of the tattoos of a specific player can be made the focus of attention.”). Plaintiff did not offer any
            rebuttal expert testimony from a video game expert regarding how people play NBA 2K.
      17
            And at most 0.015% of NBA 2K Mobile’s game data. Bogost Decl. ¶ 113; Brody Decl.¶ 18.



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(E.D. Mich. Aug. 24, 2009). As Plaintiff admitted, LeBron James “c[a]me into [Plaintiff’s] shop

with a playing card that depicted a lion” and asked Plaintiff to ink something “similar” to it on

his chest. Means Decl. Ex. 11 (Pl.’s Tr.) 82:6–8, 83:21–25. That playing card was from the

Venetian Resort, James Decl. ¶ 8, and as shown below, Plaintiff merely copied its logo:

               Venetian Resort Logo18                                     Plaintiff’s Lion Tattoo19




          Similarly, the Brother’s Keeper Tattoo was copied from public domain material and,

thus, is not original to Plaintiff. With regard to such derivative works, protection extends “only

to the material contributed by the author of such work, as distinguished from the preexisting

material employed in the work, and does not imply any exclusive right in the preexisting

material.” 17 U.S.C. § 103(b). Here, the entire tattoo is composed of preexisting elements, as

there can be no dispute that this tattoo was copied from Michelangelo’s Creation of Adam that is

painted in the Sistine Chapel, and the phrase “My Brother’s Keeper” from the Bible. Plaintiff

admits that the Sistine Chapel was “among the sources of inspiration.” Means Decl. Ex. 22 (Pl.’s

Resp. 1st Interrogs.) No. 1. And he admitted that the phrase “am I my brother’s keeper” comes

from the Biblical story of Cain and Able. Id. Ex. 11 (Pl.’s Tr.) 116:20-117:2. Plaintiff

contributed little material, if any, to the tattoo, and thus does not have protection for it.

          Second, setting aside that all of the Tattoos are difficult to observe, supra 24, NBA 2K

cannot be substantially similar to the two chest Tattoos because they are blocked by player



18
      Means Decl. Ex. 38 (Pl.’s Tr. Ex. 7, Trademark Reg. No. 3,429,884).
19
      Id. Ex. 39 (Pl.’s Copyright Applications) at 26 (Deposit for Lion Tattoo).



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     jerseys. Indeed, as shown even in the unnaturally cropped and zoomed-in images that Plaintiff

     selected for his Complaint (¶ 135), these two Tattoos cannot be seen in the game. As the design

     cannot be seen, Plaintiff cannot prove substantial similarity. Gordon, 345 F.3d at 924.

          Zoom-In of LeBron James in NBA 2K                     Zoom-In of Tristan Thompson in NBA 2K




V.             PLAINTIFF IS NOT ENTITLED TO CERTAIN REMEDIES

               Plaintiff’s claims for statutory damages and attorney’s fees fail as he did not register the

     Tattoos until after the alleged infringement commenced. 17 U.S.C. § 412. This Court already

     decided that Plaintiff cannot obtain these remedies for NBA 2K16. MTD Op. 10. As to the

     remaining editions, Section 412 “leaves no room for discretion” and precludes these remedies so

     long as “the first act in a series of acts constituting continuing infringement” occurred prior to

     registration. Johnson, 149 F.3d at 505–06 (emphasis added); see also Mason v. Montgomery

     Data, Inc., 967 F.2d 135, 143 (5th Cir. 1992) (Congress’ intended remedies be denied “for all of

     that defendant’s infringements . . . if one of those infringements commenced prior to

     registration”).20 That is because “when the same defendant infringes on the same protected work

     in the same manner as it did prior to the work’s registration, the post-registration infringement

     constitutes the continuation of a series of ongoing infringements.” Solid Oak Sketches, LLC v.

     2K Games, Inc., No. 16 Civ. 724, 2016 WL 4126543, at *3 (S.D.N.Y. Aug. 2, 2016); see also

     Compass Homes, Inc. v. Trinity Health Grp., Ltd., No. 13 Civ. 647, 2016 WL 3406054, at *9–11


     20
           This is consistent with the fact that a plaintiff may collect only “an award of statutory damages for all
           infringements involved in the action, with respect to any one work, for which any one infringer is liable.” 17
           U.S.C. § 504(c)(1) (emphasis added). As Section 504 includes all alleged infringements of a work, it “would be
           inconsistent to . . . read section 412 to treat each infringement separately.” Mason, 967 F.2d at 144.


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(S.D. Ohio June 21, 2016) (construction plans “alter[ed],” “converted . . . into computer-

generated plans and further refined” from pre-registration plans were “continuing

infringement”); EarthCam, Inc. v. OxBlue Corp., 49 F. Supp. 3d 1210, 1240 (N.D. Ga. 2014)

(infringement of construction specification and new versions of it was continuing infringement),

aff’d, 703 F. App’x 803 (11th Cir. 2017).21

          Here, although this Court previously indicated that “further discovery is required to

determine whether the NBA 2K games constitute a ‘series of acts constituting infringement,’ or

‘separate, distinct acts of infringement,’” MTD Op. 11, it is now undisputed that each version of

NBA 2K is the “the same basketball simulation game,” using “the Tattoos in the same way in

each edition.” Bogost Decl. ¶ 49 n.46; Brody Decl. ¶ 11; Means Decl. Ex. 31 (Malkiewicz Tr.)

112:18–113:5 (Plaintiff’s expert admits “before and after registration, Take-Two used the tattoos

in the same way”). Thus, these remedies are not available because (1) the Tattoos were all inked

by 2012, supra 4, (2) the first game accused of infringement, NBA 2K16, was released around

September 29, 2015, and all of the Tattoos were in that game before this lawsuit was filed (and

much earlier, supra 23), 4th Am. Compl. ¶¶ 109–12, and (3) Plaintiff did not apply for copyright

registrations in the Tattoos until September 2016 and August 2017, at least one year after NBA

2K16 was released, Means Decl. Ex. 39 (Pl.’s Copyright Applications). As the NBA 2K series is

continuing in nature, statutory damages and attorney’s fees are not available.

                                                CONCLUSION

          Take-Two respectfully requests that the Court grant its motion for summary judgment.




21
      See also B2B CFO Partners, LLC v. Kaufman, 787 F. Supp. 2d 1002, 1012 (D. Ariz. 2011); New Name, Inc. v.
      The Walt Disney Co., No. 07 Civ. 5034, 2008 WL 5587487, at *5 (C.D. Cal. July 23, 2008); Sartor v. Walters,
      No. 06 Civ. 11, 2006 WL 3497856, at *4 (W.D. La. Dec. 5, 2006); Gloster v. Relios, Inc., No. 02 Civ. 7140,
      2006 WL 1804572, at *4 (E.D. Pa. June 28, 2006); Dyer v. Napier, No. 04 Civ. 408, 2006 WL 680551, at *3
      (D. Ariz. Mar. 16, 2006).


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Dated: New York, NY
       October 25, 2021                 /s/ Dale M. Cendali
                                        Dale M. Cendali (admitted pro hac vice)
                                        Joshua L. Simmons (admitted pro hac vice)
                                        Chris Ilardi (admitted pro hac vice)
                                        KIRKLAND & ELLIS LLP
                                        601 Lexington Avenue
                                        New York, New York 10022
                                        Telephone: (212) 446-4800
                                        dale.cendali@kirkland.com
                                        joshua.simmons@kirkland.com
                                        chris.ilardi@kirkland.com

                                        Miranda D. Means (admitted pro hac vice)
                                        KIRKLAND & ELLIS LLP
                                        200 Clarendon Street
                                        Boston, Massachusetts 02116
                                        Telephone: (617) 385-7500
                                        miranda.means@kirkland.com

                                        Matthew J. Cavanagh (OH 0079522)
                                        MCDONALD HOPKINS LLC
                                        600 Superior Avenue, East, Ste. 2100
                                        Cleveland, Ohio 44114
                                        Telephone: 216.348.5400
                                        Fax: 216.348.5474
                                        mcavanagh@mcdonaldhopkins.com

                                        Attorneys for Defendants 2K Games, Inc. and
                                        Take-Two Interactive Software, Inc.




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                                 L.R. 7.1(F) CERTIFICATION

       In accordance with Local Rule 7.1(f), I hereby certify that this case is on the standard track,

that the Defendants have received prior approval from the Court to file a memorandum in support

of their Motion for Summary Judgment that can be up to thirty (30) pages in length, and that the

foregoing memorandum complies with the applicable page limitation of thirty (30) pages.



                                             /s/ Dale M. Cendali
                                             Attorney for Defendants 2K Games, Inc. and
                                             Take-Two Interactive Software, Inc.




                                                 1
